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                                                                          United States District Court
                                                                            Southern District of Texas

                                                                               ENTERED
                                                                             October 20, 2020
                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS                          David J. Bradley, Clerk

                           GALVESTON DIVISION

RONALD BRUCE DUNCAN                         §
                                            §
VS.                                         § CIVIL ACTION NO. 3:19-CV-00392
                                            §
SMITH & NEPHEW INC., ET AL.                 §


                ORDER ADOPTING MAGISTRATE JUDGE’S
                MEMORANDUM AND RECOMMENDATION

       On September 1, 2020, all non-dispositive pretrial matters in this case were

referred to United States Magistrate Judge Andrew M. Edison pursuant to 28

U.S.C. § 636(b)(1)(A).    Dkt. 20.       On October 5, 2020, Judge Edison filed a

memorandum and recommendation (Dkt. 22) recommending that Smith &

Nephew, Inc.’s Rule 12(b)(6) Motion to Dismiss Plaintiff Ronald Bruce Duncan’s

First Amended Complaint (Dkt. 11) be granted in part and denied in part.

       No objections have been filed to the memorandum and recommendation.

Accordingly, the court reviews it for plain error on the face of the record. 28 U.S.C.

§ 636(b)(1); Fed. R. Civ. P. 72(b)(3).

       Based on the pleadings, the record, and the applicable law, the court finds

that there is no plain error apparent from the face of the record. Accordingly:

       (1)   Judge Edison’s memorandum and recommendation (Dkt. 22) is
             approved and adopted in its entirety as the holding of the court; and

       (2)   Smith & Nephew’s motion to dismiss (Dkt. 11) is granted in part and
             denied in part. Specifically, the plaintiff’s claims for strict liability—
             manufacturing defect, negligent misrepresentation, unjust
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       enrichment, DTPA violations, and punitive damages are dismissed.
       All other claims for affirmative relief remain.

 Signed on Galveston Island this 20th day of October, 2020.




                                ______________________________
                                     JEFFREY VINCENT BROWN
                                  UNITED STATES DISTRICT JUDGE




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